                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

WHIRLPOOL PROPERTIES, INC.,
WHIRLPOOL CORPORATION, and
MAYTAG PROPERTIES, LLC,                              Case No.: 3:17-cv-00601-FDW-DCK

                          Plaintiffs,                JURY TRIAL DEMANDED

v.

FILTERS FAST, LLC,

                          Defendant.


                   FILTERS FAST, LLC’S ANSWER TO COMPLAINT

       Defendant Filters Fast, LLC (“Filters Fast”), by and through its attorneys, hereby answers

the Complaint filed by Plaintiffs Whirlpool Properties, Inc., Whirlpool Corporation, and Maytag

Properties, LLC (collectively, “Whirlpool”). Filters Fast denies the allegations and

characterizations in Plaintiffs’ Complaint unless expressly admitted in the following paragraphs:

                                            PARTIES

       1.      Filters Fast admits that Plaintiff Whirlpool Properties, Inc. claims to be the owner

of U.S. Trademark Registration Nos. 4,983,312; 1,251,511; 1,670,524; 937,550 and 626,550

(“the Whirlpool Registrations”), U.S. Trademark Registration Nos. 5,232,741 and 4,679,632

(“the EveryDrop Registrations”), and U.S. Trademark Registration Nos. 2,520,284; 2,520,285

and 1,585,507 (“the KitchenAid Registrations”), and that records filed with the United States

Patent and Trademark Office identify Whirlpool Properties, Inc. as the owner of the asserted

trademarks. Filters Fast otherwise lacks knowledge or information sufficient to form a belief as

to the truth of the matters alleged in Paragraph 1 of the Complaint, and on that basis denies them.



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       2.      Filters Fast admits that Plaintiff Whirlpool Corporation claims to be the owner of

United States Patent No. 7,000,894 (“the ‘894 patent”), and that records filed with the United

States Patent and Trademark Office identify Whirlpool Corporation as the owner of the ‘894

patent. Filters Fast otherwise lacks knowledge or information sufficient to form a belief as to the

truth of the matters alleged in Paragraph 2 of the Complaint, and on that basis denies them.

       3.      Filters Fast admits that Plaintiff Maytag Properties, LLC claims to be the owner

of U.S. Trademark Registration Nos. 868,637; 2,638,631; 4,210,316; and 2,258,041 (“the

Maytag Registrations”), and that records filed with the United States Patent and Trademark

Office identify Maytag Properties, LLC as the owner of the asserted trademarks. Filters Fast

otherwise lacks knowledge or information sufficient to form a belief as to the truth of the matters

alleged in Paragraph 3 of the Complaint, and on that basis denies them.

       4.      Filters Fast lacks knowledge or information sufficient to form a belief as to the

truth of the matters alleged in Paragraph 4 of the Complaint, and on that basis denies them.

       5.      Filters Fast admits that it is a limited liability company organized and existing

under the laws of North Carolina, and having a place of business at 5905 Stockbridge Drive,

Monroe, North Carolina.

                                   JURISDICTION & VENUE

       6.      Filters Fast admits that Count I of this action purports to show a cause of action

under the patent laws of the United States, Title 35, United States Code, but denies any

wrongdoing or liability for at least the reasons stated herein. Filters Fast admits that to the extent

the Complaint alleges a claim under the Patent Act, this court has subject matter jurisdiction

under 28 U.S.C. §§ 1331 and 1338(a).




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       7.      Filters Fast admits that Count II of this action purports to show a cause of action

under the Lanham Act, 15 U.S.C. § 1114, and Counts III and IV of this action purport to show

causes of action under Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), but denies any

wrongdoing or liability for at least the reasons stated herein. Filters Fast admits that to the extent

the Complaint alleges a claim under the Lanham Act, this court has subject matter jurisdiction

under 15 U.S.C. § 1121 et seq. and 28 U.S.C. §§ 1331 and 1338(a). Filters Fast denies the

remaining allegations of Paragraph 7 of the Complaint.

       8.      Filters Fast admits that Count V of this action purports to show a cause of action

for common law trademark infringement under N.C.G.S.A. § 75-1.1, and Count VI purports to

show a cause of action for unfair or deceptive trade practices under N.C.G.S.A. § 75-1.1, but

denies any wrongdoing or liability for at least the reasons stated herein. Filters Fast admits that,

with respect to Counts V and VI, and only for purposes of this action, supplemental jurisdiction

is proper under 28 U.S.C. § 1367.

       9.      Filters Fast admits the allegations of Paragraph 9 of the Complaint.

       10.     Filters Fast admits that it has offered for sale and sold throughout the United

States water filters that are compatible with one or more Whirlpool refrigerators and can be used

as replacements for Whirlpool water filters, including Aqua Fresh Model Nos. WF537 and

WF710. Filters Fast otherwise denies the remaining allegations of Paragraph 10 of the

Complaint.

       11.     Filters Fast admits that it has offered for sale and sold in North Carolina and

within this District water filters that are compatible with one or more Whirlpool refrigerators and

can be used as replacements for Whirlpool water filters, including Aqua Fresh Model Nos.




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WF537 and WF710. Filters Fast otherwise denies the remaining allegations of Paragraph 11 of

the Complaint.

       12.       Filters Fast denies the allegations of Paragraph 12 of the Complaint.

       13.       Filters Fast denies the allegations of Paragraph 13 of the Complaint.

       14.       Filters Fast admits that it is a North Carolina company with a principal place of

business in North Carolina. Filters Fast admits that it has offered for sale and sold water filters in

North Carolina, including the Western District of North Carolina, and that it advertises water

filters via its website, which is accessible by consumers in the State of North Carolina, including

the Western District of North Carolina. Solely for the purposes of this action, and without

waiving any defenses of lack of jurisdiction in connection with any other cause of action or

claim, Filters Fast does not contest this Court’s exercise of personal jurisdiction over it in this

case. Filters Fast otherwise denies the allegations of Paragraph 14 of the Complaint.

       15.       Filters Fast admits that it is a North Carolina company with a principal place of

business in the Western District of North Carolina. Solely for the purposes of this action, and

without waiving any defenses of improper venue in connection with any other causes of action or

claim, Filters Fast admits that venue is proper in this District under 28 U.S.C. § 1400(b). Filters

Fast otherwise denies the allegations of Paragraph 15 of the Complaint.

       16.       Solely for the purposes of this action, and without waiving any defenses of

improper venue in connection with any other causes of action or claim, Filters Fast admits that

venue is proper in this District under 28 U.S.C. § 1391. Filters Fast otherwise denies the

allegations of Paragraph 16 of the Complaint.




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                                             COUNT I

              [ALLEGED] INFRINGEMENT OF U.S. PATENT NO. 7,000,894

        17.     Filters Fast repeats and re-alleges its responses to Paragraphs 1–16, as though

fully recited herein.

        18.     Filters fast admits that Exhibit A to the Complaint appears to be a copy of the

‘894 patent, entitled “Fluidic Cartridges and End Pieces Thereof,” and that it states on its face

that it was issued on February 21, 2006. Filters Fast admits the ex parte reexamination certificate

states on its face that it was issued on March 3, 2014. Filters Fast otherwise lacks knowledge or

information sufficient to form a belief as to the truth of the remaining matters alleged in

Paragraph 18 of the Complaint, and on that basis denies them.

        19.     Filters Fast admits that Whirlpool claims to be the owner of the ‘894 patent and

that records filed with the United States Patent and Trademark Office identify Whirlpool as the

owner of the ‘894 patent. Filters Fast otherwise lacks knowledge or information sufficient to

form a belief as to the truth of the remaining matters alleged in Paragraph 19 of the Complaint,

and on that basis denies them.

        20.     Filters Fast lacks knowledge or information sufficient to form a belief as to the

truth of the matters alleged in Paragraph 20 of the Complaint, and on that basis denies them.

        21.     Filters Fast lacks knowledge or information sufficient to form a belief as to the

truth of the matters alleged in Paragraph 21 of the Complaint, and on that basis denies them.

        22.     Filters Fast denies the allegations of Paragraph 22 of the Complaint.

        23.     Filters Fast denies the allegations of Paragraph 23 of the Complaint.

        24.     Filters Fast denies the allegations of Paragraph 24 of the Complaint.

        25.     Filters Fast denies the allegations of Paragraph 25 of the Complaint.


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        26.     Filters Fast denies the allegations of Paragraph 26 of the Complaint.

        27.     Filters Fast denies the allegations of Paragraph 27 of the Complaint.

        28.     Filters Fast denies the allegations of Paragraph 28 of the Complaint.

                FACTS AND ALLEGATIONS COMMON TO COUNTS II-VI

        29.     Filters Fast repeats and re-alleges its responses to Paragraphs 1–28, as though

fully recited herein.

        30.     Filters Fast lacks knowledge or information sufficient to form a belief as to the

truth of the matters alleged in Paragraph 30 of the Complaint, and on that basis denies them.

        31.     Filters Fast lacks knowledge or information sufficient to form a belief as to the

truth of the matters alleged in Paragraph 31 of the Complaint, and on that basis denies them.

        32.     Filters Fast lacks knowledge or information sufficient to form a belief as to the

truth of the matters alleged in Paragraph 32 of the Complaint, and on that basis denies them.

        33.     Filters Fast admits that Plaintiff Whirlpool Properties, Inc. claims to be the owner

of U.S. Trademark Registration Nos. 4,983,312; 1,251,511; 1,670,524; 937,550 and 626,550, and

that records filed with the United States Patent and Trademark Office identify Whirlpool

Properties, Inc. as the owner of the asserted trademarks. Filters Fast otherwise lacks knowledge

or information sufficient to form a belief as to the truth of the matters alleged in Paragraph 33 of

the Complaint, and on that basis denies them.

        34.     Filters Fast admits that records filed with the United States Patent and Trademark

Office claim U.S. Trademark Registration Nos. 1,251,511; 1,670,524; 937,550; and 626,550 are

“incontestable” marks within the meaning of 15 U.S.C. §§ 1065 and 1115(b). Filters Fast lacks

knowledge or information sufficient to form a belief as to the truth of the remaining matters

alleged in Paragraph 34 of the Complaint, and on that basis denies them.


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       35.     Filters Fast lacks knowledge or information sufficient to form a belief as to the

truth of the matters alleged in Paragraph 35 of the Complaint, and on that basis denies them.

       36.     Filters Fast admits that Plaintiff Whirlpool Properties, Inc. claims to be the owner

of U.S. Trademark Registration Nos. 2,520,284; 2,520,285 and 1,585,507, and that records filed

with the United States Patent and Trademark Office identify Whirlpool Properties, Inc. as the

owner of the asserted trademarks. Filters Fast otherwise lacks knowledge or information

sufficient to form a belief as to the truth of the matters alleged in Paragraph 36 of the Complaint,

and on that basis denies them.

       37.     Filters Fast admits that records filed with the United States Patent and Trademark

Office claim U.S. Trademark Registration Nos. 2,520,284; 2,520,285 and 1,585,507 are

“incontestable” marks within the meaning of 15 U.S.C. §§ 1065 and 1115(b). Filters Fast lacks

knowledge or information sufficient to form a belief as to the truth of the remaining matters

alleged in Paragraph 37 of the Complaint, and on that basis denies them.

       38.     Filters Fast lacks knowledge or information sufficient to form a belief as to the

truth of the matters alleged in Paragraph 38 of the Complaint, and on that basis denies them.

       39.     Filters Fast admits that Plaintiff Maytag Properties, LLC claims to be the owner

of U.S. Trademark Registration Nos. 868,637; 2,638,631; 4,210,316; and 2,258,041, and that

records filed with the United States Patent and Trademark Office identify Maytag Properties,

LLC as the owner of the asserted trademarks. Filters Fast otherwise lacks knowledge or

information sufficient to form a belief as to the truth of the matters alleged in Paragraph 39 of the

Complaint, and on that basis denies them.

       40.     Filters Fast admits that records filed with the United States Patent and Trademark

Office claim U.S. Trademark Registration Nos. 868,637; 2,638,631; and 2,258,041 are

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“incontestable” marks within the meaning of 15 U.S.C. §§ 1065 and 1115(b). Filters Fast lacks

knowledge or information sufficient to form a belief as to the truth of the remaining matters

alleged in Paragraph 40 of the Complaint, and on that basis denies them.

       41.     Filters Fast lacks knowledge or information sufficient to form a belief as to the

truth of the matters alleged in Paragraph 41 of the Complaint, and on that basis denies them.

       42.     Filters Fast admits that Plaintiff Whirlpool Properties, Inc. claims to be the owner

of U.S. Trademark Registration Nos. 5,232,741 and 4,679,632, and that records filed with the

United States Patent and Trademark Office identify Whirlpool Properties, Inc. as the owner of

the asserted trademarks. Filters Fast otherwise lacks knowledge or information sufficient to form

a belief as to the truth of the matters alleged in Paragraph 42 of the Complaint, and on that basis

denies them.

       43.     Filters Fast lacks knowledge or information sufficient to form a belief as to the

truth of the matters alleged in Paragraph 43 of the Complaint, and on that basis denies them.

       44.     Filters Fast admits that it has offered for sale and sold water filters that are

compatible with one or more Whirlpool refrigerators and can be used as replacements for

Whirlpool water filters. Filters Fast admits that the photographs attached to the Complaint as

Exhibit B appear to be true and accurate representations of water filters that it has sold and

offered for sale. Filters Fast otherwise denies the allegations of Paragraph 44 of the Complaint.

       45.     Filters Fast denies the allegations of Paragraph 45 of the Complaint.

       46.     Filters Fast admits that it offers to sell and has sold water filters compatible with

one or more Whirlpool refrigerators, and that it has advertised on the internet that its water filters

are compatible with one or more Whirlpool refrigerators. Filters Fast further admits that it

lawfully has offered to sell, sold, and advertised Whirlpool water filters on its website. Filters

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Fast denies that any Whirlpool or KitchenAid trademarks currently appear in any of its AdWords

or Facebook advertisements. Filters Fast otherwise denies the allegations of Paragraph 46 of the

Complaint.

       47.     Filters Fast admits that it offers to sell and has sold water filters compatible with

one or more Whirlpool refrigerators, and that it has advertised on the internet that its water filters

are compatible with one or more Whirlpool refrigerators. Filters Fast further admits that it

lawfully has offered to sell, sold, and advertised Whirlpool water filters on its website. Filters

Fast further admits that its website includes links to webpages providing information regarding

Whirlpool water filters and Whirlpool-compatible water filters. Filters Fast otherwise denies the

allegations of Paragraph 47 of the Complaint.

       48.     Filters Fast denies the allegations of Paragraph 48 of the Complaint.

       49.     Filters Fast admits it has lawfully sold, offered for sale, and advertised several

models of Whirlpool’s EveryDrop water filters, including the Whirlpool EveryDrop Filter 3, on

its website. To the extent a further response is required, Filters Fast denies the remaining

allegations of Paragraph 49 of the Complaint.

       50.     Filters Fast admits it has lawfully sold, offered for sale, and advertised several

models of Whirlpool’s EveryDrop water filters, including the Whirlpool EveryDrop Filter 3, on

its website. Filters Fast further admits it has sold, offered for sale, and advertised the Aqua Fresh

WF710 filter on its website, which is compatible with one or more Whirlpool refrigerators and

can be used as a replacement for the Whirlpool EveryDrop Filter 3. Filters Fast further admits

that its website provides this information to consumers, and provides consumers with the option

to purchase either the Whirlpool filter or the Aqua Fresh filter. Filters Fast otherwise denies the

allegations of Paragraph 50 of the Complaint.

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       51.     Filters Fast admits it has lawfully sold, offered for sale, and advertised several

models of Whirlpool’s EveryDrop water filters, including the Whirlpool EveryDrop Filter 1, on

its website. To the extent a further response is required, Filters Fast denies the remaining

allegations of Paragraph 51 of the Complaint.

       52.     Filters Fast admits it has lawfully sold, offered for sale, and advertised several

models of Whirlpool’s EveryDrop water filters, including the Whirlpool EveryDrop Filter 1, on

its website. Filters Fast further admits it has sold, offered for sale, and advertised the Aqua Fresh

WF537 filter, which is compatible with one or more Whirlpool refrigerators and can be used as a

replacement for the Whirlpool EveryDrop Filter 1. Filters Fast admits that its website provides

this information to consumers, and provides consumers with the option to purchase either the

Whirlpool filter or the Aqua Fresh filter. Filters Fast otherwise denies the allegations of

Paragraph 52 of the Complaint.

       53.     Filters Fast admits that it has offered for sale and sold water filters that are

compatible with one or more Whirlpool refrigerators, and that it has advertised on the internet

that its water filters are compatible with one or more Whirlpool refrigerators. Filters Fast also

admits that its website was accessible to consumers nationwide, including to consumers in this

District. Filters Fast otherwise denies the allegations of Paragraph 53 of the Complaint.

       54.     Filters Fast denies the allegations of Paragraph 54 of the Complaint.

       55.     Filters Fast denies the allegations of Paragraph 55 of the Complaint.

       56.     Filters Fast admits that it has offered for sale, sold, and advertised water filters

that are compatible with one or more Whirlpool refrigerators. Filters Fast otherwise lacks

knowledge or information sufficient to form a belief as to the truth of the remaining matters

alleged in Paragraph 56 of the Complaint, and on that basis denies them.

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        57.     Filters Fast admits that it has lawfully offered for sale, sold, and advertised Water

Sentinel WSM-1 water filters and various Maytag water filters on its website. Filters Fast admits

that for a limited period of time, its website inadvertently displayed an incorrect product image

for the Water Sentinel WSM-1 water filter, but denies that it currently does so. Filters Fast

otherwise denies the allegations of Paragraph 57 of the Complaint.

        58.     Filters Fast denies the allegations of Paragraph 58 of the Complaint.

        59.     Filters Fast denies the allegations of Paragraph 59 of the Complaint.

        60.     Filters Fast denies the allegations of Paragraph 60 of the Complaint.

        61.     Filters Fast denies the allegations of Paragraph 61 of the Complaint.

        62.     Filters Fast denies the allegations of Paragraph 62 of the Complaint.

        63.     Filters Fast denies the allegations of Paragraph 63 of the Complaint.

        64.     Filters Fast denies the allegations of Paragraph 64 of the Complaint.

        65.     Filters Fast denies the allegations of Paragraph 65 of the Complaint.

        66.     Filters Fast denies the allegations of Paragraph 66 of the Complaint.

        67.     Filters Fast denies the allegations of Paragraph 67 of the Complaint.

                                             COUNT II

              [ALLEGED] INFRINGEMENT OF REGISTERED TRADEMARKS

        68.     Filters Fast repeats and re-alleges its responses to Paragraphs 1–67, as though

fully recited herein.

        69.     Filters Fast denies the allegations of Paragraph 69 of the Complaint.

        70.     Filters Fast denies the allegations of Paragraph 70 of the Complaint.




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                                           COUNT III

          [ALLEGED] FALSE DESIGNATION OF ORIGIN AND TRADEMARK
            INFRINGEMENT UNDER THE LANHAM ACT, 15 U.S.C § 1125(a)

        71.     Filters Fast repeats and re-alleges its responses to Paragraphs 1–70, as though

fully recited herein.

        72.     Filters Fast denies the allegations of Paragraph 72 of the Complaint.

        73.     Filters Fast denies the allegations of Paragraph 73 of the Complaint.

        74.     Filters Fast denies the allegations of Paragraph 74 of the Complaint.

                                            COUNT IV

                        [ALLEGED] FALSE ADVERTISING UNDER
                          THE LANHAM ACT, 15 U.S.C § 1125(a)

        75.     Filters Fast repeats and re-alleges its responses to Paragraphs 1–74, as though

fully recited herein.

        76.     Filters Fast denies the allegations of Paragraph 76 of the Complaint.

        77.     Filters Fast denies the allegations of Paragraph 77 of the Complaint.

        78.     Filters Fast denies the allegations of Paragraph 78 of the Complaint.

        79.     Filters Fast denies the allegations of Paragraph 79 of the Complaint.

        80.     Filters Fast denies the allegations of Paragraph 80 of the Complaint.

        81.     Filters Fast denies the allegations of Paragraph 81 of the Complaint.

                                            COUNT V

              [ALLEGED] COMMON LAW TRADEMARK INFRINGEMENT

        82.     Filters Fast repeats and re-alleges its responses to Paragraphs 1–81, as though

fully recited herein.

        83.     Filters Fast denies the allegations of Paragraph 83 of the Complaint.

        84.     Filters Fast denies the allegations of Paragraph 84 of the Complaint.
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        85.     Filters Fast denies the allegations of Paragraph 85 of the Complaint.

                                             COUNT VI

               [ALLEGED] UNFAIR OR DECEPTIVE TRADE PRACTICES
                            UNDER N.C.G.S.A. § 75-1.1

        86.     Filters Fast repeats and re-alleges its responses to Paragraphs 1–85, as though

fully recited herein.

        87.     Filters Fast denies the allegations of Paragraph 87 of the Complaint.

        88.     Filters Fast denies the allegations of Paragraph 88 of the Complaint.

        89.     Filters Fast denies the allegations of Paragraph 89 of the Complaint.

        90.     Filters Fast denies the allegations of Paragraph 90 of the Complaint.

                            WHIRLPOOL’S PRAYER FOR RELIEF

        The allegations in Whirlpool’s Prayer for Relief are legal conclusions to which no

response is required. To the extent any further response is required, Filters Fast denies the

underlying averments of Whirlpool’s Prayer for Relief, denies that Whirlpool is entitled to any

relief whatsoever and requests that the Court deny all relief to Whirlpool and enter judgment in

favor of Filters Fast. To the extent that any averments of the Prayer for Relief have not been

previously specifically admitted or denied, Filters Fast denies them.

                                          JURY DEMAND

        Filters Fast does not object to a trial by jury on all issues so triable, pursuant to Fed. R.

Civ. P. 38.

                                   AFFIRMATIVE DEFENSES

        Filters Fast asserts the following Affirmative Defenses in response to Whirlpool’s

Complaint. Filters Fast reserves the right to amend its response to add additional Affirmative

Defenses or Counterclaims, including additional defenses or claims based on invalidity or

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inequitable conduct, as they become known throughout the course of discovery in this case.

Assertion of a defense is not a concession that Filters Fast has the burden of proving the matter

asserted.

                                 FIRST AFFIRMATIVE DEFENSE

          The Complaint fails to state a claim upon which relief can be granted because Filters Fast

has not performed any act, and is not proposing to perform any act, in violation of any rights

validly belonging to Whirlpool.

                               SECOND AFFIRMATIVE DEFENSE

          Filters Fast does not infringe and has not infringed, literally or under the doctrine of

equivalents, directly, by contributory infringement, by inducement, or by any other way, any

valid or enforceable claim of the ‘894 patent.

                                THIRD AFFIRMATIVE DEFENSE

          One or more claims of the ‘894 patent are invalid and/or unenforceable for failure to

comply with the requirements of Title 35, United States Code, including, but not limited to,

Sections 101, 102, 103, and/or 112.

                               FOURTH AFFIRMATIVE DEFENSE

          Filters Fast has not willfully infringed any valid or enforceable claim of the ‘894

patent.

                                 FIFTH AFFIRMATIVE DEFENSE

          Whirlpool’s claims for injunctive relief are barred because there exist adequate remedies

at law and because Whirlpool’s claims otherwise fail to meet the requirements for such relief.

                                 SIXTH AFFIRMATIVE DEFENSE

          Whirlpool is barred from recovering costs associated with this action under 35 U.S.C.

§ 288.
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                             SEVENTH AFFIRMATIVE DEFENSE

        Whirlpool cannot meet the requirements for an award of enhanced damages, treble

damages, or attorneys’ fees.

                               EIGHTH AFFIRMATIVE DEFENSE

        Filters Fast has not performed any act, and is not proposing to perform any act, that has

actually caused or is likely to cause consumer confusion, deception, or mistake among

consumers or the trade as to any affiliation, connection, or association between Filters Fast and

Whirlpool, or with respect to the origin, sponsorship, or approval of the accused water filters.

                               NINTH AFFIRMATIVE DEFENSE

        Filters Fast has not performed any act, and is not proposing to perform any act, that has

actually damaged or is likely to damage the goodwill, if any, associated with Whirlpool’s

asserted trademarks.

                               TENTH AFFIRMATIVE DEFENSE

        Filters Fast has not in any way falsely described or represented the origin, nature,

characteristics, or features of the accused water filters.

                            ELEVENTH AFFIRMATIVE DEFENSE

        Filters Fast has not made any false representations, or caused any false representations to

be made, regarding the quality of the accused water filters, either generally or in comparison to

any water filter sold by Whirlpool.

                            TWELFTH AFFIRMATIVE DEFENSE

        Filters Fast has not infringed any applicable trademarks under federal or state law.

                          THIRTEENTH AFFIRMATIVE DEFENSE

        To the extent that Filters Fast has utilized any of Whirlpool’s asserted trademarks on its

website or in advertisements on the internet for the accused water filters, the trademarks were
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used only to the extent necessary to truly and accurately describe the accused water filters

offered for sale and to inform consumers of their compatibility with one or more Whirlpool

refrigerators, thereby barring Whirlpool’s claims, in whole or part, by the doctrines of fair use,

nominative fair use and/or descriptive use.

                          FOURTEENTH AFFIRMATIVE DEFENSE

         To the extent that Filters Fast has utilized any of Whirlpool’s asserted trademarks on its

website or in advertisements on the internet, such use does not in any way suggest affiliation,

sponsorship, or endorsement of the accused water filters by Whirlpool.

                            FIFTEENTH AFFIRMATIVE DEFENSE

         Whirlpool has not been harmed as a result of any act performed by Filters Fast, and

cannot show an injury sufficient to sustain an award for damages.

                            SIXTEENTH AFFIRMATIVE DEFENSE

         Whirlpool has failed to act reasonably to mitigate the damages alleged in this action.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

         Filters Fast’s investigation is ongoing and discovery has not been taken. As many

relevant facts are likely in the possession of Whirlpool, Filters Fast reserves the right to amend

its Answer, including the assertion of additional affirmative defenses.

                           FILTERS FAST’S PRAYER FOR RELIEF

         WHEREFORE, Filters Fast prays that judgment be entered in its favors and that the

Court:

         A.     Dismiss the Complaint with prejudice and issue a declaration that Whirlpool take

nothing by its Complaint;

         B.     Enter judgment that Filters Fast has not and does not infringe, directly, indirectly

or otherwise, any valid claim of the ‘894 patent;
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       C.      Enter judgment that the ‘894 patent is invalid and/or unenforceable;

       D.      Enter judgment that Filters Fast has not and does not infringe U.S. Trademark

Registration Nos. 4,983,312; 1,251,511; 1,670,524; 937,550, or 626,550 under 15 U.S.C. § 1114;

       E.      Enter judgment that Filters Fast has not and does not infringe U.S. Trademark

Registration Nos. 5,232,741 and 4,679,632 under 15 U.S.C. § 1114;

       F.      Enter judgment that Filters Fast has not and does not infringe U.S. Trademark

Registration Nos. 2,520,284; 2,520,285; and 1,585,507 under 15 U.S.C. § 1114;

       G.      Enter judgment that Filters Fast has not and does not infringe U.S. Trademark

Registration Nos. 5868,637; 2,638,631; and 2,258,041 under 15 U.S.C. § 1114;

       H.      Enter judgment that Filters Fast has not and does not engage in false designation

of origin or trademark infringement under the Lanham Act, 15 U.S.C. § 1125(a);

       I.      Enter judgment that Filters Fast has not and does not engage in false advertising

under the Lanham Act, 15 U.S.C. § 1125(a);

       J.      Enter judgment that Filters Fast has not and does not infringe any of Whirlpool’s

marks under the common law of the State of North Carolina;

       K.      Enter judgment that Filters Fast has not and does not engage in unfair or deceptive

trade practices under N.C.G.S.A. § 75-1.1;

       L.      Award Filters Fast its costs, expenses and reasonable attorney’s fees incurred in

this action under 28 U.S.C. § 1927, 35 U.S.C. § 285, 15 U.S.C. § 1117, or on any other

applicable basis; and

       M.      Award Filters Fast any further relief as the Court may deem just and proper.




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DATE: November 22, 2017            Respectfully submitted,

                                   /s/ Benjamin F. Sidbury
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of November 2017 the foregoing was filed

electronically with the Clerk of the Court and to be served via the Notice of Electronic Filing

from the Court’s Electronic Filing System upon all counsel of record.



                                                     /s/ Benjamin F. Sidbury




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